       Case 4:19-cv-07123-PJH Document 23 Filed 03/06/20 Page 1 of 2




 1   JOSEPH N. AKROTIRIANAKIS (Bar No. 197971)
      jakro@kslaw.com
 2   AARON S. CRAIG (Bar No. 204741)
      acraig@kslaw.com
 3   KING & SPALDING LLP
     633 West Fifth Street, Suite 1700
 4   Los Angeles, CA 90071
     Telephone:    (213) 443-4355
 5   Facsimile:    (213) 443-4310

 6   Attorneys for Defendants NSO GROUP TECHNOLOGIES
     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                   SAN FRANCISCO DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 3:19-cv-07123-JSC
     and FACEBOOK, INC., a Delaware
12   corporation,                              NOTICE OF APPEARANCE OF
                                               JOSEPH N. AKROTIRIANAKIS
13               Plaintiffs,
14         v.                                  Action Filed: 10/29/2019
15   NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,
16
                 Defendants.
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     NOTICE OF APPEARANCE OF                                      Case No. 3:19-cv-07123-JSC
     JOSEPH N. AKROTIRIANAKIS
       Case 4:19-cv-07123-PJH Document 23 Filed 03/06/20 Page 2 of 2




 1          PLEASE TAKE NOTICE that Joseph N. Akrotirianakis of King & Spalding LLP hereby

 2   appears as counsel in this action for Defendants NSO Group Technologies Limited and Q Cyber

 3   Technologies Limited. Please direct copies of all pleadings, papers and orders to:

 4                                 Joseph N. Akrotirianakis
                                   KING & SPALDING LLP
 5                                 633 W. 5th Street, Suite 1600
 6                                 Los Angeles, CA 90071
                                   Telephone:    (213) 443-4355
 7                                 Facsimile:    (213) 443-4310
                                   Email:        jakro@kslaw.com
 8

 9
     DATED: March 6, 2020                               KING & SPALDING LLP
10

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12                                                      By: /s/Joseph N. Akrotirianakis
                                                            JOSEPH AKROTIRIANAKIS
13
                                                            Attorneys for Defendants NSO GROUP
14                                                          TECHNOLOGIES LIMITED and Q
                                                            CYBER TECHNOLOGIES LIMITED
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      NOTICE OF APPEARANCE OF                       1                       Case No. 3:19-cv-07123-JSC
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